  Case 20-20774-CMB Doc 25-3 Filed 06/03/20 Entered 06/03/20 14:32:38                                   Desc
                 Exhibit C - Listing Agent Verification Page 1 of 1


                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                              Bankruptcy No. 20-20774-CMB

AARON C. STEVENS                                    Chapter 07

                           Debtor



                                                Verification

        I, Kevin Wooten, a duly licensed real estate agent with RE/MAX Clarity, hereby states that neither
I nor any member of RE/MAX Clarity hold or represent any interest adverse to the estate with respect to
the matters for which we are to be employed and we are disinterested persons within the meaning of 11
U.S.C. § 101(14).

         1 am familiar with the Application to retain RE/MAX Clarity filed by the Trustee ("Application")
and the property described therein.

         RE/MAX Clarity has agreed to accept employment pursuant to the terms and conditions set forth
in the Application and the proposed commission structure. Based upon my experience and knowledge of
the real estate market, 1 believe that the commission structure proposed to be paid to RE/MAX Clarity does
not exceed customary commissions in the applicable geographical area and are reasonable for the type of
employment proposed.

       To the best of my information and belief, neither 1 nor the other members of RE/MAX Clarity
have any connection with the Debtor, its creditors, or any other party in interest or their respective
attorneys or accountants, the U. S. Trustee, or any person employed in the office ofthe U.S. Trustee.
         1 represent no interest adverse to the Debtor or its estate in the matters upon which I am to be
engaged.

         Verified under penalty of perjury that the foregoing is true and correct.


                                                                                         06/02/20ZD

                                                                 k&VUkV.             ^ 04.59PM EOT
                                                               Kevin Wooten
                                                               RE/MAX Clarity
                                                               3520 Teays Valley Road, Ste 3
                                                               Hurricane, WV 25526
                                                               Phone: 304.767.3434
                                                               Email: KevinWooten@remax.net




                                                EXHIBIT C
